
EREEMAX, J.,
delivered the opinion of tire Court.
We affirm tire decree of tRe Chancellor below, so far as to hold that Wingfield is liable for the amount decreed against him. He admits he received Confederate money; that he deposited it in Bank, and drew out Tennessee and other Southern Bank money; and so far as we can see, the money was used by him as his own. He has totally failed to account for it in any way; does not even insist that he has the money on hand, or that it has perished on his hands; nor in anyway seek to discharge himself from liability to account. He does not even attempt to show that the money received was depreciated in value at the time received; on the contrary, states himself, as an excuse for receiving it when paid, that it was current. Hnder these circumstances he must account for it — and a decree against him for the amount was proper.
Mrs. Webster, from whom the money was received, is, as a matter of course, not liable to pay it again, as the payment made by her was clearly a discharge of her liability to the extent of her payment. It was fairly made, and freely and voluntarily received by the Clerk and Master.
A decree will be entered here in accordance with this opinion; Wingfield paying the costs in this Court, and of the proceedings in reference to this fund in Court below.
